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                          **NOT FOR PRINTED PUBLICATION**

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

SECURITIES AND EXCHANGE                         §
COMMISSION,                                     §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §    Civil Action No. 4:11-cv-655
                                                §
JAMES G. TEMME and                              §
STEWARDSHIP FUND, LP,                           §
                                                §
       Defendants.                              §

                                             ORDER

       Before the Court is Receiver Keith M. Aurzada’s (the “Receiver”) Motion to Allow and

Pay Professional Fees (the “Motion”) [Doc. #281]. The court, having considered the Motion, the

evidence, the responsive briefing, the arguments of counsel, the objections of any creditors or

claimants, if any, and the relevant legal principles, finds and concludes that the Motion and the

relief requested therein should be GRANTED and therefore orders that:

       (a)     The Receiver is allowed to pay $17,818.75 and $224.53 in professional
               fees and expenses to Goldfarb LLP; and

       (b)     The Receiver is allowed to pay $87,577.50 and $142.40 in professional
               fees and expenses to Hicks Thomas LLP, subject to supplementation for
               additional fees and expenses incurred in connection with obtaining the
               relief requested in this motion.

             So ORDERED and SIGNED this 16 day of April, 2014.




                                                           ___________________________________
                                                           Ron Clark, United States District Judge


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